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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 8:13CR254
                                              )
       vs.                                    )              FINDINGS AND
                                              )            RECOMMENDATION
ROGER ABBOTT,                                 )                   and
                                              )
                     Defendant.               )                  ORDER

       At the conclusion of the hearing held on August 15, 2013, on defendant’s Motion to
Suppress (#18), as supplemented by Filing No. 24, I stated my conclusions on the record
and my decision to recommend that the motion to suppress be granted. In accordance
with that announcement,
       IT IS RECOMMENDED to the Honorable John M. Gerrard, United States District
Judge, that the Motion to Suppress (#18), as supplemented by Filing No. 24, be granted
in all respects.
       FURTHER, IT IS ORDERED:
       1.      The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.      Pursuant to NECrimR 59.2, any objection to the magistrate’s Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after
the unredacted transcript is available to counsel. Failure to timely object may constitute
a waiver of any such objection. The brief in support of any objection shall be filed at the
time of filing such objection. Failure to file a brief in support of any objection may be
deemed an abandonment of the objection.
       DATED this 15th day of August, 2013.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
